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                 Attorneys for Debtor in Possession,
           7     JEFFERY EDWARD ARAMBEL

           8                                UNITED STATES BANKRUPTCY COURT

           9                                  EASTERN DISTRICT OF CALIFORNIA

          10      In Re:                                          Case No. 18-90029-E-11

          11      JEFFERY EDWARD ARAMBEL,                         Chapter 11

          12                           Debtor.                    Docket Control No. MF-9

          13                                                      Date: April 19, 2018
                                                                  Time: 10:30 a.m.
          14                                                      Place: Courtroom 33
                                                                         501 I Street, 6th Floor
          15                                                             Sacramento, California

          16                                                              Hon. Ronald H. Sargis

          17
                  DECLARATION OF JON DAGGETT IN SUPPORT OF MOTION FOR AUTHORITY TO
          18          SELL REAL PROPERTY FREE AND CLEAR OF LIENS (HOME RANCH)
          19            I, Jon Daggett, declare:
          20            1.     I am an agent with Pearson Realty, real estate brokers. I am over the age of eighteen.
          21     The following facts are true and correct of my own knowledge. If called as a witness, I could and
          22     would competently testify as follows.
          23            2.     I am a custodian of certain books and records of Pearson Realty pertaining to the
          24     engagement discussed herein. Making and maintaining such books and records is a regular practice
          25     of Pearson Realty. Records are entered into such books and records in the course of the regular
          26     business of Pearson Realty. Such records are entered at or near the time, or from information
          27     transmitted by, someone with knowledge of the act, event, condition or opinion recorded.
          28            3.     I am and have been a real estate professional for more than fourteen years. Among

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           1     my specialties are ranch and farm sales, agribusiness-related sales and sales of “transitional” land. I

           2     also have extensive experience in insurance and farming. I have been involved in more than $240

           3     million in real estate transactions between 2013 and 2016 alone. I joined Pearson Realty in 2004.

           4            4.      The subject property is known as the “Home Ranch,” comprising approximately

           5     180.81 acres of apricot and peach orchards on Needham Road near Stark Road west of Westley,

           6     California (APNs 021-013-025; 021-013-026; 021-013-027; and 021-013-028), excluding a certain

           7     3,200 square-foot home and shop built upon the land and the approximately one acre surrounding it

           8     (the “Property”).

           9            5.      The Property was advertised and exposed to the market as follows:

          10                    Posted on the Land and Farm website, Loopnet/CoStar website, Lands of America

          11     website, Pearson Realty website; emailed to personal client list of 100+ recipients and 23+ Pearson

          12     Realty farm agents who also distribute to personal client lists; mailed two (2) separate postcards to

          13     3,000 recipients each.

          14            6.      The Property has been posted for sale since May of 2016. Pearson Realty was

          15     retained in May of 2016 and promptly listed the Property on various websites (see Paragraph 5)

          16     above. To date, the Land and Farm.com posting for the Property has been clicked and viewed 833

          17     times, and the Loopnet.com posting for the Property has been viewed (displayed in search results)

          18     21,033 times in the past 180 days (see Exhibit A for specific website reports).

          19            7.      The Property has also been marketed on Pearson Realty’s own website and has been

          20     the subject of multiple email and direct mail marketing efforts directed to approximately 3,000+

          21     potential buyers (see Exhibit “C” for postcard mailer details).

          22            8.      Certain marketing materials were prepared and posted to the website and circulated

          23     with such emails. True and correct copies of the marketing materials are attached hereto,

          24     collectively, as Exhibit “C” and are incorporated herein by reference.

          25            9.      Pearson Realty has received five to six (5-6) verbal serious expressions of interest.

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           1            10.     Pearson Realty received one (1) written offer, of which the offer made by Skip

           2     Foppiano and accepted was the highest and best offer.

           3            I declare under penalty of perjury under the laws of the United States of America that the

           4     foregoing is true and correct. Executed this 26th day of March, 2018, at Fresno, California.

           5                                                           /s/ Jon Daggett
           6                                                          JON DAGGETT

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